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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                       ***

4

5     UNITED STATES OF AMERICA,

6                          Plaintiff,                      2:14-cr-00310-KJD-VCF

7     vs.
                                                           ORDER
8     MAIZAH SHANTAL LUCIOUS a.k.a. MYA,

9                           Defendant.

10

11           Before the court is Defendant’s Motion to Compel United States Marshal to Transport Detainee to

12   a Physician for a Surgical Procedure. (#49).

13           IT IS HEREBY ORDERED that any opposition to the Defendant’s Motion to Compel United

14   States Marshal to Transport Detainee to a Physician for a Surgical Procedure (#49) must be filed by

15   January 28, 2015. No reply necessary.

16           IT IS FURTHER ORDERED that a hearing on Defendant’s Motion to Compel United States

17   Marshal to Transport Detainee to a Physician for a Surgical Procedure (#49) is scheduled for 10:00 a.m.,

18   January 30, 2015, in courtroom 3D.

19           The U.S. Marshal is directed to transport defendant to and from the hearing.

20           DATED this 23rd day of January, 2015.

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23                                                               CAM FERENBACH
                                                                 UNITED STATES MAGISTRATE JUDGE
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